
PER CURIAM.
Upon consideration of the appellant’s response to the Court’s order of December 9, 2011, the Court has determined that the order on appeal does not constitute an appealable order. Furthermore, the Court declines to grant the appellant’s request that the matter be reviewed pursuant to Florida Rule of Appellate Procedure 9.100(e)(8). See Norman v. Ambler, 46 So.3d 178 (Fla. 1st DCA 2010); see also School Bd. of Leon County v. Mitchell, 346 So.2d 562 (Fla. 1st DCA 1977). Accordingly, the appeal is dismissed.
LEWIS, CLARK, and MARSTILLER, JJ., concur.
